Case 1:19-mj-00559-JMC Document2 Filed 02/25/19 Page 1of5
AO 106 (Rev. 04/10) Application for a Search Warrant

 

UNITED STATES DISTRICT COURT

for the
District of Maryland
In the Matter of the Search of )
‘Bi describe th tob hed , = :
(or ene the person by ns ond sderess casero, 9.7 05.5 9 SMC
Certain Cell Towers
)

APPLICATION FOR A SEARCH WARRANT

J, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that J have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give Its location):

See Attachment A attached hereto and incorporated herein by reference.

located in the District of Maryland , there is now concealed (idensifp the
person or describe the property to be seized):

 

See Attachment A attached hereto and incorporated herein by reference.

The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
i evidence of a crime;
@ contraband, fruits of crime, or other items illegally possessed;
property designed for use, intended for use, or used in committing a crime;

C1 a person to be arrested or a person who is unlawfully restrained.

The search is related to a violation of:

ENTERED
- Code Section Orfense CSC FILRO man VED
18 U.S.C. 1951 (a}) Affecting Interstate Commerce by ery LOGG- 2
FEB 25 204
The application is based on these facts:
i eal rent paca
See attached Affidavit. ¢ LE Mere GF 2 MANILOW

BY
ow Continued on the attached sheet.

O Delayed notice of days (give exact ending date if more than 30 da )is requested

 

  

 

“be od /,. ~ “Sica 's signature

 

 

eo. oh | evansn Plasha Special Agent ATF
a . 2 a Printed name and titl
Sworn to before me and signed in my presence. Se 7 U/ fe
Date: _Af TL ; a
s ooo i ike ‘s/signature
City and state: Baltimore, Maryland bo J. Mad Cgulson, U.S. Magistrate Judge

 

 

/ Printed name and title
Case 1:19-mj-00559-JMC Document2 Filed 02/25/19 Page 2 of 5

ATTACHMENTS

RECEIVED

FEB 25 2019

AT BAT INOAE
y W, DIS
By DISTRICT OF HAR SOUT
. DEPUTY

13
Case 1:19-mj-00559-JMC Document2 Filed 02/25/19 Page 3 of5
19-05 5 9 Jive
ATTACHMENT A

I. The Cell Towers

This warrant applies to certain records and information associated with the following
cellular telephone towers (“Cell Towers”) during a particular timeframe between May 25, 2018
and September 1, 2018. Specifically, the warrant requires the Service Providers to produce all
transactional and subscriber records pertaining to cellular telephone calls and direct connect
information, received by or transmitted from cellular telephone towers during the below times

and at the below locations:

 

Il. Date

Time

Cell Towers

 

5/25/2018

7:30pm — 11:30pm EST

Cell Towers near 1720 E. Joppa
Rd, Parkville, MD 21234

 

6/10/2018

6:30pm — 10:30pm EST

Cell Towers near 1725 Taylor
Ave, Parkville, MD 21234

 

6/20/2018

7:00pm — 11:00pm EST

Cell Towers near 1830 York
Rd, Lutherville-Timonium, MD
21093

 

6/20/2018

7:00pm — 11:00pm EST

Cell Towers near 51 E. Padonia
Rd, Lutherville-Timonium, MD
21093

 

6/20/2018

8:00pm — 11:59pm EST

Cell Towers near 833 Taylor
Ave, Towson, MD 21286

 

T/AO/2018

9:00pm — 11:59pm EST

Cell Towers near 1700 Yakona
Rd, Baltimore City, MD 21234

 

7/11/2018

8:00pm — 11:59pm EST

Cell Towers near 8625 Walther
Blvd, Baltimore City, MD
21236

 

7/11/2018

8:00pm — 11:59pm EST

Cell Towers near 8625 Walther
Blvd, Baltimore City, MD
21236

 

7/18/2018

9:00pm — 11:59pm EST

Cell Towers near 7732 Harford
Rd, Parkville, MD 21234

 

 

7/20/2018

 

4:00pm — 8:00pm EST

Cellexepers near SOstkRrrt
| SmaldeGbd Rivier RESEND MD
21226 z

 

 

16

FEB 25 2019

AT BALTIMORE
CLERK, U.S. DISTRICT COURT
DISTRICT OF MARYLAND

BY DEPUTY

 
Case 1:19-mj-00559- 5 Document 2 Filed 02/25/19 Page 4of5

19-0559 JMC

 

Cell Towers near 8300 Veterans
Highway, Millersville, MD

 

 

 

 

 

 

 

 

 

7/22/2018 12:01am — 3:30am EST 21108

Cell Towers near 1700 Taylor
7/26/2018 4:00pm — 8:00pm EST Ave, Parkville, MD 21234

Cell Towers near 3301 E Joppa
8/18/2018 8:00pm — 11:59pm EST Rd, Parkville, MD 21234

Cell Towers near 3611

Washington Blvd, Halethorpe,
8/21/2018 8:00pm — 11:59pm EST MD 21227

Cell Towers near 6901 Security

Blvd, Baltimore City, MD
8/25/2018 9:00pm — 11:59pm EST 21207

Cell Towers near 1004 Taylor
8/28/2018 9:00pm — 11:59pm EST Ave, Towson, MD 21286

Cell Towers near 6370 York
9/01/2018 9:00pm — 11:59pm EST Rd, Baltimore, MD 21212

 

III. Records and Other Information to Be Disclosed

For each cell tower described in Part I of this Attachment, the Service Providers named in

the Order are required to disclose to the United States all records and other information (not

including the contents of communications) about all communications made using the cell tower

during the corresponding timeframe(s) listed in Part I, including the records that identify:

A.

the telephone call number and unique identifiers for each wireless device in the
vicinity of the tower (“the locally served wireless device”) that registered with the
tower, including Electronic Serial Numbers (“ESN”), Mobile Electronic Identity

Numbers (“MEIN”), Mobile Identification Numbers (“MIN”), Subscriber Identity

Modules (“SIM”), Mobile Subscriber Integrated Services Digital Network

Numbers (“MSISDN”), International Mobile Subscriber Identifiers (“IMSI”), and

International Mobile Equipment Identities (“IMET”);

17

 
Case 1:19-mj-00559-JMC Document 2 Filed 02/25/19 Page 5 of5

19-055 9 JMC

B. the source and destination telephone numbers associated with each
communication (including the number of the locally served wireless device and
the number of the telephone that called, or was called by, the locally served

‘wireless device);
C. the date, time, and duration of each communication;

D. the “sectors” (i.e., the faces of the towers) that received a radio signal from each

locally served wireless device; and

E. the type of communication transmitted through the tower (such as phone call or

text message).

These records should include records about communications that were initiated before or
terminated after the specified time period, as long as part of the communication occurred during

the relevant time period identified in Part 1.

18
